






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00106-CV






In re Rickey Lynn Heaton, Jr.






ORIGINAL PROCEEDING FROM BURNET COUNTY




M E M O R A N D U M   O P I N I O N



		Rickey Lynn Heaton, Jr. has filed a petition for writ of mandamus requesting that this
Court order the Burnet County District Court to act on his Motion Requesting Out of Time Appeal
and Appointment of Appellant Counsel.  We will deny the writ because Heaton is not entitled to
the&nbsp;relief he requests from the trial court under the facts he has described in his petition.  Depending
on&nbsp;the circumstances, the relief Heaton requests may possibly be available through a petition
for&nbsp;writ&nbsp;of habeas corpus, but Heaton does not assert that he has a pending habeas petition.  The
trial&nbsp;court has not abused its discretion by not granting the relief requested through the apparently
stand-alone motion described in Heaton's petition for writ of mandamus.  Accordingly, the petition
for writ of mandamus is denied.


						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Patterson, Puryear and Waldrop

Filed:   March 31, 2009


